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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS

DANIEL ALHOLM, individually and on                 )
behalf of those similarly situated, et al.,        )
                                                   )
       Plaintiffs,                                 )           Case No. 1:22-cv-01820
                                                   )
                                                   )           Hon. Mary M. Rowland
v.                                                 )
                                                   )
THE VRDOLYAK LAW GROUP, LLC,                       )           JURY TRIAL DEMANDED
                                                   )
       Defendant.                                  )

                DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES

       Defendant the Vrdolyak Law Group, LLC (referred to herein as “VLG” or “Defendant”), by

and through the undersigned counsel, hereby answers the First Amended Class Action Complaint

filed by Plaintiffs Daniel Alholm, Jeannette Alicea, Lucero Del Real, Daniel Gallagher, Penny

Jackson, Rodney Smith, and Erica Villagomez (collectively “Plaintiffs”) and states as follows:

                                     NATURE OF THE ACTION

       1.           Plaintiffs—former VLG employees who were employed at VLG in and before 2019

and 2020—bring this action, on behalf of themselves and a Class of similarly situated individuals,

against Defendant VLG for violations of the Wiretap Act and the Illinois Eavesdropping Act, and

on behalf of Plaintiff Alholm for violations of his publicity and likeness rights, as more fully

described herein.

       ANSWER: Admit that Plaintiffs bring an action for violations of the Wiretap Act, related

state laws, and for Plaintiff Daniel Alholm violations of his publicity and likeness rights; deny that

the individual plaintiffs and the purported class are similarly situated.




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                                                 PARTIES

        2.         Plaintiff Daniel Alholm (“Plaintiff Alholm” or “Mr. Alholm”) is an adult citizen

and resident of the state of Illinois. He was a resident of the State of Tennessee at the time this

case was initiated on April 7, 2022.

        ANSWER: Admit.

        3.         Plaintiff Jeannette Alicea (“Plaintiff Alicea” or “Ms. Alicea”) is an adult citizen

and resident of the state of Illinois.

        ANSWER: Admit.

        4.         Plaintiff Lucero Del Real (“Plaintiff Del Real” or “Ms. Del Real”) is an adult

citizen and resident of the state of Illinois.

        ANSWER: Admit.

        5.         Plaintiff Daniel Gallagher (“Plaintiff Gallagher” or “Mr. Gallagher”) is an adult

citizen and resident of the state of Illinois.

        ANSWER: Admit.

        6.         Plaintiff Penny Jackson (“Plaintiff Jackson” or “Ms. Jackson”) is an adult citizen

and resident of the state of Illinois.

        ANSWER: Admit.

        7.         Plaintiff Rodney Smith (“Plaintiff Smith” or “Mr. Smith”) is an adult citizen and

resident of the state of Illinois.

        ANSWER: Admit.

        8.         Plaintiff Erica Villagomez (“Plaintiff Villagomez” or “Ms. Villagomez”) is an

adult citizen and resident of the state of Illinois.

        ANSWER: Admit.




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         9.       Defendant The Vrdolyak Law Group, LLC, is a domestic limited liability company

with its headquarters and principal place of business at 9618 S. Commercial Ave., Chicago, Illinois

60617.

         ANSWER: Admit.

                                    JURISDICTION AND VENUE

         10.      This Court has federal question jurisdiction pursuant to 28 U.S.C. U.S.C. § 1331

because Plaintiff alleges violations of the Federal Wiretap Act, 18 U.S.C. §§ 2511, et seq.

         ANSWER: This paragraph contains a legal conclusion to which no answer is necessary.

         11.      This Court also has diversity jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)

because the matter in controversy involves more than 100 class members, the amount in

controversy exceeds $5,000,000, exclusive of interests and costs, as each member of the proposed

Class is entitled to a minimum of $10,000 in statutory damages for Defendant’s violation of the

Wiretap Act. Further, at least one Plaintiff and Defendant were citizens of different states at the

time the Complaint was filed. Therefore, both elements of diversity jurisdiction under the Class

Action Fairness Act (“CAFA”) are present.

         ANSWER: This paragraph contains a legal conclusion to which no answer is necessary.

         12.      This Court also has diversity jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. §§ 1332 and 1367.

         ANSWER: This paragraph contains a legal conclusion to which no answer is necessary.

         13.      This Court has personal jurisdiction over the Defendant because its principal place

of business is in the State of Illinois, where it conducted the fraudulent and illegal activity at issue in

this case.

         ANSWER: This paragraph contains a legal conclusion to which no answer is necessary;

deny that Defendant conducted any fraudulent or illegal activity.

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          14.      Venue is proper in the United States District Court for the Northern District of

Illinois pursuant to 28 U.S.C. § 1391(b)-(c), because Defendant VLG is deemed to reside in any

judicial district in which it is subject to personal jurisdiction and the time the action is commenced, a

substantial part of the events giving rise to this lawsuit occurred in this District, and Defendant

caused harm to Class members residing in this District.

          ANSWER: This paragraph contains a legal conclusion to which no answer is necessary.

                         STATEMENT OF FACTS AND ALLEGATIONS

    I.      VLG’s Culture of Surreptitious Surveillance of Clients, Employees, and Others

                1. Eddie Vrdolyak’s Fixation with Employee Surveillance

          15.      Upon information and belief, Eddie Vrdolyak, managing partner of VLG, has a

fixation with audio and video surveillance.

          ANSWER: Deny.

          16.      Each of VLG’s Chicago and Nashville offices have been, and, upon information

and belief, remain equipped with a network of audio and video surveillance cameras, which Mr.

Vrodlyak monitored from his office that contained numerous screens for purposes of video

surveillance.

          ANSWER: Deny.

          17.      Mr. Vrdolyak, who worked in one of the Chicago VLG offices, directed an

employee to call Mr. Alholm to tell him that he was watching the cameras for the Nashville office

and could see that the employees there were spending too much time on their cell phones.

          ANSWER: Admit that Mr. Vrdolyak was able to observe common areas of the Nashville

office via security cameras, that excessive personal cell phone usage (in violation of VLG office

rules) was occurring, and that Mr. Alholm (who was purportedly overseeing the Nashville office)

was told of the improper cell phone usage; deny the remaining allegations.

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       18.      Mr. Vrdolyak also routinely instructed subordinate VLG employees to monitor

each other’s conversations, and regularly directed these employees to conduct “voicemail audits,”

wherein VLG employees reviewed other employees’ phone voicemail messages. These employees

were instructed by Mr. Vrdolyak to report all unanswered voicemail messages to him.

       ANSWER: Defendant denies that employees were instructed to “monitor each other’s

conversations” and that employees reviewed “other employees’ phone voicemail messages.”

Defendant did ask employees how many “unopened” voicemail messages they had and how long

ago the messages were created. Defendant denies all remaining allegations in paragraph 18.

       19.      In early February 2019, Mr. Vrdolyak instructed VLG employee Sean Gaughan to

“pull the tape” of a conference call that occurred on February 7, 2019 between VLG employees in

the Nashville office and Mr. Vrdolyak to determine if VLG employees were making disparaging

remarks about Mr. Vrdolyak while the conference room phone was muted.

       ANSWER: Deny.

       20.      Upon information and belief, these employees were not aware that their meeting

was audio-visually recorded.

       ANSWER: Deny, as meeting was not audio-visually recorded.

       21.      On February 8, 2019, Mr. Vrdolyak held a phone call with Mr. Alholm and other

VLG employees informing them that he had a recording of the conversation in the conference

room, that employees had made derogatory comments about him while the phone was muted and

that the employees involved in making the derogatory comments would be terminated.

       ANSWER: Admit that Mr. Vrdolyak had a telephone call with Alholm on that date; admit

that during that call, to protect the identity of a whistleblowing employee, Mr. Vrdolyak told

Alholm a recording of the derogatory comments existed; admit that the derogatory comments led




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to the dismissal of certain employees. Deny that any recording of conversation in the conference

room took place.

          22.      Later that day or the next day, Peter Vrdolyak, another partner at VLG, called Mr.

Alholm and informed him that he had also heard the recording.

          ANSWER: Admit that Peter Vrdolyak had a phone conversation with Alholm and that any

representation regarding hearing a recording was made because the employee that directly provided

the information about the derogatory comments requested that her identity remain confidential.

Deny that Peter Vrdolyak heard any recording or that any recording of the conversation was made.

          23.      Eddie Vrdolyak later stated that the conference room conversation was not actually

recorded, but that he had been told about the disparaging comments from another VLG employee

who was in the conference room when the comments were made.

          ANSWER: Admit that Mr. Vrdolyak truthfully stated that there was not a recording of the

conversation because no such recording existed; admit that Mr. Vrdolyak learned of the

disparaging comments from another employee that requested her identity remain confidential.

Otherwise deny.

          24.      Eddie Vrdolyak later explained that he had lied about there being a recording of the

conference room conversation—and instructed Mr. Gaughan and Peter Vrdolyak to lie—in an

effort to protect the reporting employee from retaliation from other VLG employees.

          ANSWER: Admit that Mr. Vrdolyak explained to Alholm later, but prior to Alholm’s

filing of this litigation, that no recording of the conversation was ever made and the statement

sought to protect against the disclosure of the identity of an employee who informed him of the

disparaging remarks because that employee requested her identity remain confidential; otherwise

denied.

                2. Mr. Alholm Learns of VLG’s Database of Illegally Recorded Phone Calls

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       25.       In January 2020, VLG’s office telecommunications software was upgraded to a

new SIPCOM telephone system, which, in addition to customary business communication services,

was expressly marketed for its “call recording” functionality.

       ANSWER: Deny.

       26.       In early January 2020, Mr. Alholm had a phone call with VLG employee, Mr. G,

about Mr. G resigning from VLG. Mr. G was seemingly uncomfortable to talk to Mr. Alholm. At

the time, Mr. Alholm believed that there was another VLG employee in Mr. G’s office and

therefore, Mr. G was unwilling to speak candidly.

       ANSWER: Defendant is without sufficient knowledge to admit or deny the allegations in

this paragraph and accordingly denies the same.

       27.       On January 9, 2020, Mr. G called Mr. Alholm to caution him about what he

discussed on his work phone because all phone calls made on VLG phones were being recorded

and existed in a database on the computer. Mr. G informed Mr. Alholm that he was able to “look

up” his phone calls, “click on them” and listen to them.

       ANSWER: Deny.

       28.       Upon learning of the illegal surveillance and inquiring about his ethical duties to

the Illinois Attorney Registration Disciplinary Committee and the Tennessee Board of Professional

Responsibility, Mr. Alholm resigned from VLG on January 24, 2020.

       ANSWER: Admit that Alholm resigned on the date alleged, after he unlawfully solicited

VLG clients to terminate their relationship with VLG; deny that illegal surveillance occurred.

Denied that Alholm had an ethical duty to report or inquire about non-existent illegal surveillance.

       29.       A VLG IT employee/consultant also told Mr. Alholm that all phone calls at the

downtown Chicago office had been recorded, though at the time of the conversation, Mr. Alholm

believed it was an innocent mistake that had been remedied.

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          ANSWER: Deny.

                3. Plaintiffs Alicea and Del Real Discover Recordings of Calls Including
                   Themselves, Plaintiff Villagomez, and Others

          30.      On or after January 28, 2020, Plaintiffs Alicea and Del Real, along with another

VLG employee, discovered dozens of recordings of telephone calls stored on the VLG telephone

system. The recordings included telephone calls between Plaintiffs Alicea and Del Real, other

VLG employees, and VLG clients.

          ANSWER: Deny.

          31.      Plaintiff Del Real downloaded a subset of these recordings, which she subsequently

learned totaled 39 call recordings, and preserved these calls on a USB drive.

          ANSWER: Deny.

          32.      Neither Plaintiff Alholm, Alicea, Del Real, nor any other Plaintiff or Class member

was made aware that his or her telephone calls were being recorded, nor did any Class member

consent to the recording of their telephone calls.

          ANSWER: Deny that VLG was recording the calls of any employee, Plaintiff, or purported

class member.

          33.      VLG’s year 2020 employee manual did not disclose to VLG employees that their

telephone calls may or would be recorded.

          ANSWER: Admit, as no telephone calls were recorded by VLG.

          34.      Attorney Robert Sweeney presented the 2020 employee manual to VLG employees

at an in-person meeting in or about December 2019. Attorney Robert Sweeney did not disclose to

VLG employees that their telephone calls may or would be recorded.

          ANSWER: Admit, as no telephone calls were recorded by VLG.

   II.      VLG’s Actions Continue to Cause Professional Harm to Plaintiffs and the Class



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       35.       As a result of VLG’s actions, Mr. Alholm suffered and continues to suffer

reputational harm, invasion of privacy, and his forced resignation.

       ANSWER: Deny.

       36.       As a result of VLG’s actions, Plaintiffs and all class members suffered an invasion

of privacy and other harms associated with the illicit recording of their telephone calls.

       ANSWER: Deny.

       TOLLING AGREEMENTS, AMERICAN PIPE TOLLING, DISCOVERY RULE,
            FRAUDULENT CONCEALMENT TOLLING, AND ESTOPPEL

       37.       Plaintiffs repeat and re-allege the allegations set forth above. At all times relevant

to this Complaint, Defendant and its agents took active steps to conceal their unlawful activities,

including the unlawful recording and fraudulent acts alleged herein. For example and without

limitation, Defendant and its agents concealed their efforts to wiretap Plaintiffs and the Class and

continued to tell Plaintiffs and the Class that no recordings has been made.

       ANSWER: Defendant repeats and restates its answers to the allegations set forth above. As

to additional allegations in this paragraph, deny.

       38.       As a result of VLG’s actions, Plaintiffs and all class members suffered an invasion

of privacy and other harms.

       ANSWER: Deny.

       39.       Tolling Agreements: Plaintiff Alholm and Defendant entered into two Tolling

Agreements (see the Court’s January 17, 2023 Memorandum Opinion and Order at 7 n.3

(discussing January 8, 2022 Tolling Agreement and March 4, 2022 Tolling Agreement)) which

expressly tolled claims brought by Plaintiff Alholm and the Employee Wiretap Class against VLG

under the Federal Wiretap Act, 18 U.S.C. §§ 2511 et seq., the Tennessee Wiretapping and

Electronic Surveillance Act, T.C.A. § 39-13-601 et seq., and/or the Illinois Eavesdropping Act, 720

ILCS 5/14 et seq. The Court previously held that these Tolling Agreements rendered the initial
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Complaint timely filed, which preserves all Employee Wiretap Class members’ claims pursuant to

the express terms of the two Tolling Agreements.

       ANSWER: Deny.

       40.        American Pipe Tolling: All Class members’ claims are tolled as of the date of the

filing of this action, April 7, 2022. Am. Pipe & Const. Co. v. Utah, 414 U.S. 538, 554 (1974)

(“[T]he commencement of a class action suspends the applicable statute of limitations as to all

asserted members of the class who would have been parties had the suit been permitted to continue as

a class action.”); see also Crown, Cork & Seal Co. v. Parker, 462 U.S. 345, 353–54 (1983) (“Once

the statute of limitations has been tolled, it remains tolled for all members of the putative class until

class certification is denied.”). Because this Class Action was commenced within two years of

Plaintiff Alholm’s discovery of call recordings, as extended by the Tolling Agreements described

above, all Class Members’ claims are timely.

       ANSWER: Deny.

       41.        Discovery Rule: Plaintiff Alholm had no knowledge of the harms alleged herein,

or of facts sufficient to place him on inquiry notice of the claims set forth herein, until on or about

(at the earliest) January 9, 2020, the date upon which Mr. Alholm learned of the illegal recording at

issue in this case. The remaining Plaintiffs had no knowledge of the harms alleged herein, or of

facts sufficient to place them on inquiry notice of the claims set forth herein, until (in Plaintiff

Alicea and Plaintiff Del Real’s case) when they discovered call recordings in or after late January

2020 and (in the remaining Plaintiffs’ case) when this lawsuit was filed April 7, 2022. Before and

following those dates, Defendant actively concealed the fraud and illegal recording in this case

both from Plaintiffs and the Class. For these reasons, and subject to the other tolling arguments

herein, the statute of limitations as to Plaintiffs’ and the Class’s claims did not begin to run until




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each Plaintiff’s discovery of VLG’s recording practices, and has been tolled with respect to the

claims that Plaintiffs and the members of the Class have alleged in this Complaint.

       ANSWER: Deny.

       42.       Fraudulent Concealment: In the alternative, application of the doctrine of

fraudulent concealment tolled the statute of limitations on the claims asserted herein by Plaintiffs

and the Class. Plaintiffs and the members of the Class did not discover, and could not discover

through the exercise of reasonable diligence, the existence of the illegal recording and fraud

alleged herein until on or about (in the case of Plaintiff Alholm only, at the earliest) January 9,

2020, (in the case of Plaintiffs Alicea and Del Real only, at the earliest) late January 2020, and/or

(in the case of remaining Plaintiffs) April 7, 2022.

       ANSWER: Deny.

       43.       Before those times, Plaintiffs and the members of the Class were unaware of

Defendant’s unlawful conduct, and did not know before then that Defendant was illegally

recording and defrauding Plaintiffs and Class members. Defendants provided no information,

actual or constructive, to Plaintiffs and members of the Class that they were being injured by

Defendants’ unlawful conduct, and moreover took steps to conceal that conduct before and after

January 9, 2020. Defendant specifically denied recording Plaintiffs and the Class up through and

through the date of the filing of the April 7, 2022 Complaint, and indeed still deny it to the present

day, and Plaintiffs and the members of the Class could not have discovered the alleged unlawful

activity, including the conspiracy or combination alleged herein, at an earlier date by the exercise

of reasonable diligence because of the deceptive practices and techniques of secrecy employed by

the Defendant and its agents to avoid detection of, and fraudulently conceal, its and their unlawful

conduct.




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       ANSWER: Admit that Defendant denied recording Plaintiffs’ telephone communications

and the telephone communications of VLG employees and others because no intentional recording

occurred; otherwise deny.

       44.        As described above, VLG and Mr. Alholm executed an agreement, for good and

valuable consideration, that tolled the statute of limitations with respect to the illegal call recording

allegations in this Complaint on behalf of Mr. Alholm and the proposed Class members. Plaintiffs

rely on that agreement in bringing these claims on behalf of themselves and the Class.

       ANSWER: Deny.

                                 CLASS ACTION ALLEGATIONS

       45.        Plaintiffs bring this action on behalf of themselves, and behalf of all other persons

similarly situated (hereinafter and before referred to as “the Class”).

       ANSWER: Admit that Plaintiffs bring this action on behalf of themselves and a purported

Class; deny that purported Class actually exists and deny that the individual Plaintiffs and proposed

Class are similarly situated.

       46.        Plaintiffs propose the following Class definition, subject to amendment as

appropriate: All persons in the United States whose wire, oral, or electronic communications were

intercepted by Defendant VLG from January 9, 2018 through the present. Collectively, all these

persons will be referred to as “Class members.”

       ANSWER: Admit that Plaintiffs propose the above class; deny that purported Class

actually exists; further deny that this purported Class is that identified in the tolling agreement

discussed in ¶ 39.

       47.        Plaintiffs represent, and are members of, the Class. Excluded from the Class is

Defendant and any entities in which a Defendant has a controlling interest, Defendant’s partners,

officers, directors, agents and legal representatives, any Judge to whom this action is assigned and

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any member of such Judge’s staff and immediate family, Plaintiffs’ counsel, and Defendant’s

Counsel.

       ANSWER: Deny that Plaintiffs represent or are members of the purported Class, which

does not exist because no illegal surveillance occurred. Admit that Plaintiffs do not include the

other persons described in this allegation in the definition of their purported Class.

       48.       Plaintiffs do not know the exact number of members in the Class, but on

information and belief, the number of Class members at minimum is in the hundreds.

       ANSWER: Deny.

       49.       Plaintiffs and all members of the Class have been harmed by Defendant’s acts,

including, but not limited to, intercepting and/or recording Class members’ wire, oral, and/or

electronic communications during the class period.

       ANSWER: Deny.

       50.       This Class Action Complaint seeks injunctive relief and money damages.

       ANSWER: Admit as to the relief sought. Deny that Plaintiffs are entitled to any such relief.

       51.       The joinder of all Class members is impracticable due to the size and relatively

modest value of each individual claim. The disposition of claims in a class action will provide

substantial benefit to the parties and the judicial economy of the Court in avoiding a multiplicity of

identical suits. The Class can be identified easily through records maintained by Defendant and/or

any vendors who intercepted and/or recorded the illegal calls on its behalf.

       ANSWER: Deny.

       52.       There are well defined, nearly identical, questions of law and fact affecting all Class

members. The questions of law and fact involving the Class claims predominate over questions

which may affect individual Class members. Those common questions of law and fact include, but

are not limited to, the following:


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        a.        Whether Defendant illegally intercepted the wire, oral, and/or electronic

        communications of Plaintiffs and the Class;

        b.        Whether Defendant is liable to Plaintiffs and the Class for damages, and the

        amount of such damages;

        c.        Whether Defendant should be enjoined from engaging in such conduct in the

        future.

        ANSWER: Deny.

        53.        As persons whose phone calls were intercepted, recorded, and monitored without

their knowledge or consent, Plaintiffs assert claims that are typical of each Class member.

Plaintiffs will fairly and adequately represent and protect the interests of the Class and have no

interests which are antagonistic to any member of the Class.

        ANSWER: Deny.

        54.        Plaintiffs have retained counsel experienced in handling class action claims

involving violations of federal and state fraud and wiretapping statutes, including federal and state

consumer protection claims involving statutory damages such as those brought under the Wiretap

Act.

        ANSWER: Defendant is without sufficient knowledge to admit or deny the allegations in

this paragraph and accordingly denies the same.

        55.        A class action is the superior method for the fair and efficient adjudication of this

controversy. Classwide relief is essential to compel Defendant to comply with the Wiretap Act.

The interest of Class members in individually controlling the prosecution of separate claims against

Defendant is small because the statutory damages in an individual action for the violation of the

Wiretap Act are small. Management of these claims is likely to present significantly fewer




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difficulties than are presented in many class claims because damages are set by statute and the

Class and class period are discrete.

        ANSWER: Deny.

        56.       Defendant has acted on grounds applicable to the Class, thereby making final

injunctive relief and corresponding declaratory relief with respect to the Class as a whole, most

appropriate. Moreover, on information and belief, Plaintiffs allege that the Wiretap Act violations

complained of herein are substantially likely to continue in the future if an injunction is not entered.

        ANSWER: Deny.

                                         CAUSES OF ACTION

                           FIRST CAUSE OF ACTION
       VIOLATIONS OF THE FEDERAL WIRETAP ACT, 18 U.S.C. §§ 2511, ET SEQ.
                       (On Behalf of Plaintiffs and the Class)

        57.       Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if

fully set forth herein.

        ANSWER: Defendant repeats and restates its answers to the foregoing paragraphs.

        58.       18 U.S.C. § 2511 provides, in relevant part, that:

        (1) . . . [A]ny person who--(a) intentionally intercepts, endeavors to intercept, or
        procures any other person to intercept or endeavor to intercept, any wire, oral, or
        electronic communication; . . . (c) intentionally discloses, or endeavors to disclose,
        to any other person the contents of any wire, oral, or electronic communication,
        knowing or having reason to know that the information was obtained through the
        interception of a wire, oral, or electronic communication in violation of
        this subsection; [or]
        (d) intentionally uses, or endeavors to use, the contents of any wire, oral, or
        electronic communication, knowing or having reason to know that the information
        was obtained through the interception of a wire, oral, or electronic communication
        in violation of this subsection; . . . shall be punished as provided in subsection (4) or
        shall be subject to suit as provided in subsection (5).

        ANSWER: Admit.

        59.       Upon information and belief, VLG has intentionally intercepted, endeavored to

intercept, or procured another person to intercept or endeavor to intercept, Plaintiffs’ and Class
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members’ wire or electronic communications in violation of 18 U.S.C. § 2511(1)(a), as alleged

herein; and/or

          ANSWER: Deny.

          60.      Upon information and belief, VLG has intentionally disclosed, or endeavored to

disclose, to another person the contents of Plaintiffs’ and Class members’ wire, oral, or electronic

communication, knowing or having reason to know that the information was obtained through the

interception of a wire, oral, or electronic communication in violation of 18 U.S.C. § 2511(1)(c), as

alleged herein; and/or

          ANSWER: Deny.

          61.      Upon information and belief, VLG has intentionally used, or endeavored to use, the

contents of Plaintiffs’ and Class members’ wire or electronic communications, while knowing or

having reason to know that the information was obtained through the interception of wire or

electronic communications in violation of 18 U.S.C. § 2511(1)(d), as alleged herein.

          ANSWER: Deny.

          62.      VLG did not notify Plaintiffs or Class members of the above-described intentional

interception, disclosure, and/or use of their wire or electronic communications, nor did Plaintiffs or

Class members consent to such interception, disclosure, and or use.

          ANSWER: Deny, as no such intentional interception, disclosure, and/or use occurred.

          63.      Upon information and belief, VLG is currently engaged in and will continue to

engage in the above-described intentional interception, disclosure, and/or use of Plaintiffs’ and

Class members’ wire or electronic communications, and therefore, are entitled to and do seek

injunctive relief prohibiting VLG from violating provisions of the Federal Wiretap Act in the

future.

          ANSWER: Deny.

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        64.       As a result of VLG’s intentional interception, disclosure, and/or use of Plaintiffs’

and Class members’ wire or electronic communications in violation of 18 U.S.C. § 2511 et seq.,

Plaintiffs and each Class member are entitled to: actual damages and any profits made by VLG as a

result of its violations; or statutory damages of whichever is the greater of $100 per day for each day

of violation or $10,000; punitive damages; and an award of attorneys’ fees and costs, pursuant to 18

U.S.C. § 2520.

        ANSWER: Deny.

                          SECOND CAUSE OF ACTION
          VIOLATIONS OF THE TENNESSEE WIRETAPPING AND ELECTRONIC
                  SURVEILLANCE ACT, T.C.A. § 39-13-601, ET SEQ.
                        (On Behalf of Plaintiffs and the Class)

        65.       Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if

fully set forth herein.

        ANSWER: Defendant repeats and restates its answers to the foregoing paragraphs.

        66.       T.C.A. § 39-13-601 provides, in relevant part, that:

        (a)(1) . . . [A] person commits an offense who: (A) Intentionally intercepts,
        endeavors to intercept, or procures any other person to intercept or endeavor to
        intercept, any wire, oral, or electronic communication; . . . (C) Intentionally
        discloses, or endeavors to disclose, to any other person the contents of any wire, oral
        or electronic communication, knowing or having reason to know that the
        information was obtained through the interception of a wire, oral, or electronic
        communication in violation of this subsection (a); or (D) Intentionally uses, or
        endeavors to use, the contents of any wire, oral or electronic communication,
        knowing or having reason to know, that the information was obtained through the
        interception of a wire, oral or electronic communication in violation of this
        subsection (a).

        It further provides that:

        A violation of subdivision (a)(1) . . . shall be subject to suit as provided in § 39-13-603.

        ANSWER: Admit.

        67.       Upon information and belief, VLG has intentionally intercepted, endeavored to

intercept, or procured another person to intercept or endeavor to intercept, Plaintiffs’ and Class
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members’ wire or electronic communications in violation of T.C.A. § 39-13-601(a)(1)(A), as

alleged herein; and/or

       ANSWER: Deny.

       68.       Upon information and belief, VLG has intentionally disclosed, or endeavored to

disclose, to another person the contents of Plaintiffs’ and Class members’ wire, oral, or electronic

communication, knowing or having reason to know that the information was obtained through the

interception of a wire, oral, or electronic communication in violation of T.C.A. § 39-13-

601(a)(1)(C), as alleged herein; and/or

       ANSWER: Deny.

       69.       Upon information and belief, VLG has intentionally used, or endeavored to use, the

contents of Plaintiffs’ and Class members’ wire or electronic communications, while knowing or

having reason to know that the information was obtained through the interception of wire or

electronic communications in violation of T.C.A. § 39-13-601(a)(1)(D), as alleged herein.

       ANSWER: Deny.

       70.       VLG did not notify Plaintiffs or Class members of the above-described intentional

interception, disclosure, and/or use of their wire or electronic communications, nor did Plaintiffs or

Class members consent to such interception, disclosure, and or use.

       ANSWER: Deny, as no such intentional interception, disclosure, and/or use occurred.

       71.       Upon information and belief, VLG is currently engaged in and will continue to

engage in the above-described intentional interception, disclosure, and/or use of Plaintiffs’ and

Class members’ wire or electronic communications, and therefore, are entitled to and do seek

injunctive relief prohibiting VLG from violating provisions of the Tennessee Wiretapping and

Electronic Surveillance Act in the future.

       ANSWER: Deny.

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        72.       As a result of VLG’s intentional interception, disclosure, and/or use of Plaintiffs’

and Class members’ wire or electronic communications in violation of T.C.A. § 39-13-601 et seq.,

Plaintiffs and each Class member are entitled to: actual damages and any profits made by VLG as a

result of its violations; or statutory damages of whichever is the greater of $100 per day for each day

of violation or $10,000; punitive damages; and an award of attorneys’ fees and costs, pursuant to

T.C.A. § 39-13-603.

        ANSWER: Deny.

                              THIRD CAUSE OF ACTION
                   VIOLATIONS OF THE ILLINOIS EAVESDROPPING ACT,
                             IL ST CH 720 § 5/14-1, ET SEQ.
                           (On Behalf of Plaintiffs and the Class)

        73.       Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if

fully set forth herein.

        ANSWER: Defendant repeats and restates its answers to the foregoing paragraphs.

        74.       720 Ill. Comp. Stat. Ann. 5/14-2 provides, in relevant part, that:

        (a) A person commits eavesdropping when he or she knowingly and intentionally:
        (1) Uses an eavesdropping device, in a surreptitious manner, for the purpose of
        overhearing, transmitting, or recording all or any part of any private conversation to
        which he or she is not a party unless he or she does so with the consent of all of the
        parties to the private conversation; (2) Uses an eavesdropping device, in a
        surreptitious manner, for the purpose of transmitting or recording all or any part of
        any private conversation to which he or she is a party unless he or she does so with
        the consent of all other parties to the private conversation; . . . or (5) Uses or
        discloses any information which he or she knows or reasonably should know was
        obtained from a private conversation or private electronic communication in
        violation of this Article, unless he or she does so with the consent of all of the
        parties.

        ANSWER: Admit.

        75.       Upon information and belief, VLG has knowingly and intentionally used an

eavesdropping device, in a surreptitious manner, for the purpose of overhearing, transmitting, or



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recording all or any part of Plaintiffs’ and Class members’ private conversation, communications in

violation of 720 Ill. Comp. Stat. Ann. 5/14-2(1), as alleged herein; and/or

          ANSWER: Deny.

          76.      Upon information and belief, VLG used an eavesdropping device, in a surreptitious

manner, for the purpose of transmitting or recording all or any part of any private conversation to

which VLG agents or employees were a party in violation of 720 Ill. Comp. Stat. Ann. 5/14-2(2),

as alleged herein; and/or

          ANSWER: Deny.

          77.      Upon information and belief, VLG has used or disclosed any information which it

knows or reasonably should know was obtained from a private conversation or private electronic

communication in violation of 720 Ill. Comp. Stat. Ann. 5/14-1 et seq., as alleged herein.

          ANSWER: Deny.

          78.      VLG did not notify Plaintiffs or Class members of the above-described intentional

interception, disclosure, and/or use of their wire or electronic communications, nor did Plaintiff or

Class members consent to such interception, disclosure, and or use.

          ANSWER: Deny, as no such intentional interception, disclosure, and/or use occurred.

          79.      Upon information and belief, VLG is currently engaged in and will continue to

engage in the above-described intentional interception, disclosure, and/or use of Plaintiffs’ and

Class members’ wire or electronic communications, and therefore, are entitled to and do seek

injunctive relief prohibiting VLG from violating provisions of the Illinois Eavesdropping Act in the

future.

          ANSWER: Deny.

          80.      As a result of VLG’s intentional interception, disclosure, and/or use of Plaintiffs’

and Class members’ wire or electronic communications in violation of 720 Ill. Comp. Stat. Ann.


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5/14-1 et seq., Plaintiffs and each Class member are entitled to: an injunction by this Court

prohibiting further prohibiting further eavesdropping by VLG; actual damages as a result of VLG’s

violations; and punitive damages, pursuant to 720 Ill. Comp. Stat. Ann. 5/14-6.

       ANSWER: Deny.

                        FOURTH CAUSE OF ACTION
          MISAPPROPRIATION OF LIKENESS IN VIOLATION OF THE
   TENNESSEE PERSONAL RIGHTS PROTECTION ACT OF 1984, T.C.A. § 47-25-1101,
                                      ET SEQ.
                (On Behalf of Plaintiff Daniel Alholm, individually)

       81.       Plaintiff Alholm incorporates by reference the foregoing paragraphs of this

Complaint as if fully set forth herein.

       ANSWER: Defendant repeats and restates its answers to the foregoing paragraphs.

       82.       T.C.A. § 47-25-1105 provides, in relevant part, that:

       (a) Any person who knowingly uses or infringes upon the use of another
           individual’s name, photograph, or likeness in any medium, in any manner
           directed to any person other than such individual, as an item of commerce for
           purposes of advertising products, merchandise, goods, or services, . . . without
           such individual’s prior consent, . . . shall be liable to a civil action.

       ANSWER: Admit.

       83.       VLG knowingly and intentionally used Mr. Alholm’s name, photograph, and

likeness on VLG’s website without his permission to falsely advertise Mr. Alholm as an attorney

employed by VLG in violation of T.C.A. § 47-25-1105.

       ANSWER: Deny.

       84.       VLG willfully continued to falsely advertise Mr. Alholm as a VLG employee when

Mr. Alholm’s name, photograph, and likeness remained on VLG’s website for 27 months after Mr.

Alholm departed and many months after he requested that his name and photograph be removed.

       ANSWER: Deny.

       85.       Mr. Alholm’s likeness continues to be displayed on VLG’s website to this day.


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       ANSWER: Deny.

       86.       As a result of VLG’s knowing and intentional use of Mr. Alholm’s name,

photograph, and likeness impermissibly for over 27 months, Mr. Alholm suffered actual damages

as described herein.

       ANSWER: Deny.

                            FIFTH CAUSE OF ACTION
            MISAPPROPRIATION OF LIKENESS IN VIOLATION OF THE
     ILLINOIS RIGHTS OF PUBLICITY ACT, 765 Ill. Comp. Stat. Ann. 1075/1, ET SEQ.
                  (On Behalf of Plaintiff Daniel Alholm, individually)

       87.       Plaintiff Alholm incorporates by reference the foregoing paragraphs of this

Complaint as if fully set forth herein.

       ANSWER: Defendant repeats and restates its answers to the foregoing paragraphs.

       88.       765 Ill. Comp. Stat. Ann. 1075/30 provides, in relevant part, that:

       (a) A person may not use an individual's identity for commercial purposes during
       the individual's lifetime without having obtained previous written consent from the
       appropriate person. . .

       ANSWER: Admit.

       89.       VLG knowingly and intentionally used Mr. Alholm’s name and photograph on

VLG’s website to falsely advertise Mr. Alholm as an attorney employed by VLG in violation of

765 Ill. Comp. Stat. Ann. 1075/30.

       ANSWER: Deny.

       90.       VLG’s use of Mr. Alholm’s name and photograph on its website was for a

“commercial purpose” as defined by 765 Ill. Comp. Stat. Ann. 1075/5.

       ANSWER: Deny.

       91.       VLG did not obtain Mr. Alholm’s consent for the continued use of is name and

photograph as required by 765 Ill. Comp. Stat. Ann. 1075/30.

       ANSWER: Deny, as no such continued use occurred.
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       92.       VLG’s continued use Mr. Alholm’s name and photograph, purporting him to be a

VLG employee, on VLG’s website for many months after Mr. Alholm requested that his name and

photograph be removed, constitutes a willful violation of 765 Ill. Comp. Stat. Ann. 1075/30.

       ANSWER: Deny.

       93.        As a result of VLG’s knowing, intentional, and willful use of Plaintiff’s name and

photograph, Plaintiff is entitled to: the greater of Mr. Alholm’s actual damages, VLG’s profits

derived from its unauthorized use, or $1,000; punitive damages pursuant to 765 Ill. Comp. Stat.

Ann. 1075/40; and attorney’s fees and costs pursuant to 765 Ill. Comp. Stat. Ann. 1075/55.

       ANSWER: Deny.

                                    AFFIRMATIVE DEFENSES

                  FIRST AFFIRMATIVE DEFENSE – LACK OF STANDING

       1.      Plaintiffs cannot bring claims for violations of the Wiretap Act or state analogues

because their telephone calls were not recorded. Further, even if Plaintiffs’ calls had been recorded

they lack a concrete injury necessary to confer Article III standing.

             SECOND AFFIRMATIVE DEFENSE – FAILURE TO STATE A CLAIM

       2.      Plaintiffs have failed to state a federal cause of action.

                         THIRD AFFIRMATIVE DEFENSE – LACHES

       3.      Plaintiffs have waited too long to bring their claims and they are barred by laches.

             FOURTH AFFIRMATIVE DEFENSE – STATUTE OF LIMITATIONS

       4.      Plaintiffs’ claims are barred by statutes of limitations, as their wiretapping claims

were barred before the Parties’ tolling agreement was executed.

                        FIFTH AFFIRMATIVE DEFENSE – UNCLEAN HANDS

       5.      Plaintiffs’ claims and their ability to recover are barred by their own unclean hands.

                      SIXTH AFFIRMATIVE DEFENSE – SPOLIATION


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       6.     Plaintiffs’ claims are barred by their participation in the spoliation of evidence.

                  SEVENTH AFFIRMATIVE DEFENSE – MISCONDUCT

       7.     Plaintiffs’ claims are barred by litigation misconduct; namely, contacting agents of

VLG despite knowing VLG was represented by counsel, in violation of Rule 4.2 of the Rules of

Professional Conduct.

                   EIGHTH AFFIRMATIVE DEFENSE – NO DAMAGES

       8.     Even if Plaintiffs’ allegations were true, they have suffered no damages.

                                         JURY DEMAND

       VLG demands a trial by jury.



  Dated: March 1, 2024                       Respectfully submitted,

                                             /s/ Robert D. Sweeney
                                             Robert D. Sweeney
                                             William H. O’Hara
                                             Nicole E. DiOrio
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 1, 2024, I have electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which sent notification of such filing to all parties of

record.


                                                       /s/ William O’Hara




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